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                       THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS


 SYMBOLOGY INNOVATIONS, LLC,
               Plaintiff,
        v.                                          CIVIL ACTION NO. 3:24-cv-00081-X

 DELTA AIR LINES, INC.,
                                                    JURY TRIAL DEMANDED
               Defendant.




              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

 Symbology Innovations, LLC respectfully submits this Notice of Voluntary Dismissal With

 Prejudice of Defendant Delta Air Lines, Inc. Delta Air Lines has neither filed an Answer nor a

 Motion for Summary Judgment.



Dated: February 15, 2024                           Respectfully Submitted,

                                                   /s/ Christopher A. Honea
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                                                   COUNSEL FOR PLAINTIFF
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                             CERTIFICATE OF SERVICE
       I hereby certify that on February 15, 2024, I electronically transmitted the foregoing

document using the CM/ECF system for filing, which will transmit the document electronically

to all registered participants as identified on the Notice of Electronic Filing, and paper copies

have been served on those indicated as non-registered participants.


                                            /s/ Christopher Honea
                                           Christopher Honea




Original Complaint                                                                                  2
